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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS


IN RE: TESTOSTERONE                                     )   Case No. 1:14-cv-17478
REPLACEMENT THERAPY                                     )
PRODUCTS LIABILITY LITIGATION                           )   MDL No. 2545
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This document applies to all cases                      )


                              CASE MANAGEMENT ORDER 141
                       (appointment of Common Benefit Fee Committee)

         The Court thanks all of those who applied for positions on the Common Benefit
Fee Committee to be established pursuant to Case Management Order 16. All of those
who applied are highly qualified. The Court is required to appoint a committee with an
odd number of members to avoid potential tie votes, and is not persuaded that the
committee needs to be as large as proposed by the Plaintiffs' Steering Committee or even
larger, as proposed by one of the applicants. The Court appoints the following five
attorneys to the Common Benefit Fee Committee:
                  •   Trent Miracle
                  •   Christopher Seeger
                  •   Ronald Johnson
                  •   Michelle Kranz
                  •   Troy Rafferty
It is so ordered.




Date: November 21,2 018
